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ROXANNE DUNBAR-ORTIZ TO TALK ON
GLOBAL HUMAN RIGHTS @
SACRAMENTO MARXIST SCHOOL

© To: A-List@Xxxxxxxxxxxx, M-fem@xxxxxxXXXxXXXXXxx, pen-]@KxXXXXXXXXXXXXXXXXX
e Subject. ROXANNE DUNBAR-ORTIZ TO TALK ON GLOBAL HUMAN RIGHTS @
SACRAMENTO MARXIST SCHOOL

From: "Seth Sandronsky" <ssandron@xxxxxxxxxxx>

Date: Sat, 06 Apr 2002 18:17:07

April 6, 2002

News Release

For more informaticn:

Call John Rowntree, (916) 446-1758
P,Q, Box 160406 Sacramento, CA 95816
<info@marxistschool.org>
<www.marxistschool.org>

ROXANNE DUNBAR-ORTIZ TO SPEAK ON INTERNATIONAL HUMAN RIGHTS AT THE MARXIST
SCHOCL OF SACRAMENTO

Roxanne Dunbar-Ortiz, activist, author and professor, will give a talk
"International Human Rights" on Thursday, April 18 at 7 p.m. in the Green
Room at the Sierra 2 Center, 2791 24th Street, Sacramento..

Dunbar-Ortiz’ talk is part of the Point of View: Challenging Perspectives on
Current Issues speaker series sponsored by The Marxist Schiool of Sacramento.

Dunbar-Ortiz will focus on how global freedom movements hawe worked with the
United Nations to build international human rights law. She will suggest
how this work can help U.S. activists challenge U.S. globalization and
militarization.
EXHIBIT
Dunbar-Ortiz is a professor of ethnic studies and women’s studies at CSU y
Hayward. The Great Sioux Nation, Roots of Resistance is one of the many AS

8
books she has written,

http://archives.econ.utah.edu/archives/m-fem/2002m04/msg00003.htm 12/6/2004
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This event is free and open to the public. Donations are welcome. For more
information cali John Rowntree at {916} 446-1758.

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e Prev by Date: Thu., April 11: Dan La Botz, Sweatshops & Solidarity (Mexico, Indonesia,
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e Previous by thread: Thu., April 11: Dan La Botz, Sweatshops & Solidarity (Mexico,Indonesia,
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o The Consequences of Telling the Truth About Palestine, Yoshie Furuhashi

Wed 10 Apr 2002, 13:37 GMT
a Re: [R-G] The Consequences of Telling the Truth About Palestine,
Macdonald Stainsby Wed 10 Apr 2002, 18:58 GMT

o Tue., April 9: Remembering Deir Yassin + Protest| the Israeli Occupation,
Yoshie Furuhashi Tue 09 Apr 2002, 07:34 GMT

o Rabbi Lerner's Call for Civil Disobedience, Yoshi¢ Furuhashi Mon 08 Apr
2002, 19:19 GMT

o ROXANNE DUNBAR-ORTIZ TO TALK ON GLOBAL HUMAN
RIGHTS @ SACRAMENTO MARXIST SCHOOL, Seth Sandronsky Sat
06 Apr 2002, 18:17 GMT

o Thu., April 11: Dan La Botz, Sweatshops & Solidarity (Mexico,Indonesia,
USA), Yoshie Furuhashi Fri 05 Apr 2002, 01:59 GMT

o Fri., April 5: Demonstration in Support of Palestinians (OH), Yoshie
Furuhashi Wed 03 Apr 2002, 07:22 GMT

o Tue., April 9: Lumumba _, Yoshie Furuhashi Tue 02 Apr 2002, 04:44 GMT

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